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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 DEL RIO DIVISION


 STATE OF TEXAS                                 §
     Plaintiff,                                 §
  v.                                            §
                                                §
 ALEJANDRO MAYORKAS, in his                     § CIVIL ACTION NO. 2:23-CV-00024-AM
 official capacity as Secretary of              §
 Department of Homeland Security;               §
 UNITED STATES DEPARTMENT                       §
 OF HOMELAND SECURITY;                          §
 MERRICK GARLAND, in his official               §
 capacity as Attorney General of the            §
 United States; UNITED STATES                   §
 DEPARTMENT OF JUSTICE                          §
        Defendants.                             §

______________________________________________________________

      PLAINTIFF’S UNOPPOSED MOTION FOR EXTENSION OF TIME
________________________________________________________________


TO THE HONORABLE JUDGE ALIA MOSES:

       Plaintiff State of Texas seeks an extension of time to file a responsive pleading in response

to Defendants’ Motion to Dismiss Complaint [ECF No. 20].

       Currently, Plaintiff’s deadline to respond to the Motion to Dismiss is September 14, 2023.

Undersigned counsel requests a 60-day extension to file a responsive pleading because counsel for

Plaintiff has numerous professional obligations during the next two months.

       Accordingly, Plaintiff respectfully requests that its responsive pleading deadline be

extended to November 13, 2023. This motion is unopposed. The requested extension is reasonable

and necessary to allow Plaintiff adequate time to prepare its response. This request is not for delay,

but so that justice may be served.
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                            Respectfully submitted,

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                            Provisional Attorney General of Texas

                            BRENT WEBSTER
                            First Assistant Attorney General

                            GRANT DORFMAN
                            Deputy First Assistant Attorney General

                            JAMES LLOYD
                            Interim Deputy Attorney General for Civil Litigation

                            KIMBERLY GDULA
                            Deputy Chief for General Litigation Division

                            RYAN G. KERCHER
                            Deputy Chief for General Litigation Division

                            /s/ Kimberly Gdula
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                            COUNSEL FOR PLAINTIFF




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                             CERTIFICATE OF CONFERENCE

        I hereby certify that I have conferred with opposing counsel, and Defendants confirmed
they are unopposed to the relief requested herein.

                                             /s/ Kimberly Gdula
                                             KIMBERLY GDULA
                                             Deputy Chief




                                CERTIFICATE OF SERVICE

        I hereby certify that on this 11th day of September, 2023, the foregoing was electronically
filed with the Clerk of the Court using the CM/ECF system and served on all attorney(s) and/or
parties of record, via the CM/ECF service.



                                             /s/ Kimberly Gdula
                                             KIMBERLY GDULA
                                             Deputy Chief




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